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GMS Requirements

This document enumerates the requirements for an Android partner device to properly integrate with Google
Mobile Services (GMS). The requirements are grouped by the following categories:

* Overview

* Distributing GMS Components. Defines which GMS components must be distributed under what
circumstances.

* Boot-up Branding. Defines what a device should display during the boot-up procedure.

* Device Setup Experience. Defines the UX requirements when setting up a device for the first time out of the
box.

* Home Screen Appearance. Defines how GMS components must be initially presented to the users after out-
of-the-box setup is completed.

* Security Requirements. Defines what security features must be included on the device.

* Settings Requirements. Defines the behavior of the Settings app.

* Platform Feature Requirements. Defines what platform features must be made available under what
circumstances.

Fundamental Requirements
Please note the following fundamental requirements for shipping a device with GMS:

* Android devices that ship with GMS MUST comply with the Android Compatibility Definition Document (CDD)
and pass the Testing Suites like CTS, CTS Verifier, GTS.

* Every Android device that ships with GMS MUST have three physically separated buttons for BACK, HOME,
and RECENT functions.

* Every new Android device that ships with GMS MUST comply with the GMS Approval Window requirement.
Google only approves GMS distribution for new products on an API level while its GMS approval window is
open. Once a product is approved and launched, its maintenance release (MR) builds and security MR (SMR)
builds can be approved regardless of its GMS Approval Window.

* The binary contents of GMS components MUST NOT be altered under any circumstances.

* New device launches MUST preload all Core apps and services in the latest GMS bundle not later than 60
days after the latest bundle is released by Google. However, if Google has released a later version of
individual core component, partners MAY preload it instead of the one in the GMS bundle, as long as such a
build complies with this document. This requirement is applicable to MR builds as well, but a waiver can be
granted by Google.

* Partners SHOULD NOT include any GMS updates in security MR builds to ensure smaller incremental update
sizes, unless a GMS module has to be updated to comply the security patch level declared by the build.

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Distributing GMS Components

Geo-availability

Each Google product included in GMS has a corresponding geo-availability definition. It outlines the availability
of Google products on Android in given countries. As Google launches the products in new countries, the geo-
availability definition is subject to change over time. The latest geo-availability information is available from the
GMS Help Center.

NOTE: GMS smartphones and tablets sold or distributed in the Russian Federation must meet the GMS Russia
Build requirements.

All Android devices shipping GMS MUST be compliant with the geo-availability. For example, if a device is going
to be on sale in a country, it MUST only preload the set of apps available for the country, under the conditions
set forth in the geo-availability definition.

Core apps and services

GMS Core apps and services include required apps with launcher icons shown below plus commonly used
services such as WebView (renders web pages and online content), data synchronization services (for
calendar, contacts, mail and other apps), configuration management and set up, digital rights management for
content playback, text-to-speech and other application services.

Core services

All GMS core services for Android 6.0 or later are listed below.

 

 

 

 

Apk Filename / Package name Description

ConfigUpdater Allows to update non-executable system
com.google.android.configupdater components over the air

GmsCore Provides 3rd party apps with Google
com. google. android.gms services

GoogleBackupTransport Backup data to the user's Google account

com. google.android.backuptransport

 

 

GoogleFeedback Allows users to send bug reports or
com. google. android. feedback feedback to Google
GoogleLoginService Google account authentication service

 

 

 

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“IN POE Neon gel pees beginning with

Android 8.0, including upgraded devices.

 

GoogleOneTimelinitializer

com. google. android.onetimeinitializer

One-time initialization for the first boot

 

GooglePartnerSetup
com.google.android.partnersetup

Partner-specific device initialization
service

 

GoogleServicesFramework
com.google.android.gsf

Remote service provisioning framework

 

SetupWizard
com.google.android.setupwizard

Out of the box setup user experience

 

GoogleCalendarSyncAdapter
com. google.android.syncadapters.calendar

Sync calendar data to the user's Google
account

NOTE: Can be removed if standalone
Google Calendar app is preloaded.

 

GoogleContactsSyncAdapter
com.google.android.syncadapters.contacts

Sync contacts data to the user's Google
account

 

WebViewGoogle
com. google. android.webview

Webpage renderer

 

GoogleTTS

com.google.android.tts

Text-to-speech accessibility service

 

GooglePackagelinstaller
com. google.android.packageinstaller

Provides runtime permission user
interface.

NOTE: Only needed by Android 6.0 or
later

 

GoogleExtServices
com.google.android.ext.services

Provides Android framework extension
mechanism

NOTE: Only needed by Android 7.0 or
later

 

GoogleExtShared
com. google. android.ext.shared

Same as above
NOTE: Only needed by Android 7.0 or
later

 

 

GooglePrintRecommendationService
com.google.android.printservice.recommendation

   

 

Allows users to discover and configure
printers on the local network.

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Jar Filename Description

 

com. google.android.maps.jar These Jar files MUST be preloaded to support the
com. google.android.media.effects.jar | ‘Google APIs’ component in the Android SDK. For
example, this component for Android 7.0 SDK is
downloaded under ${ANDROTD_HOME}/add-
ons/addon-google apis-google-24 folder.

 

 

 

 

Core apps (subject to geo-availability)

NOTE: Duo is required only for Telephony devices. Non-telephony devices must preload Hangouts instead.

* Googie Play Store

* Google Search

* Chrome Browser

* Google Drive

* Gmail

* Google Duo

* Maps

* Google Play Music
* Google Photos

* Google Play Movies

* YouTube

Optional apps

Partners MAY distribute the optional GMS apps listed in the geo-availability chart. Google recommends that
these apps be preloaded if they are the only ones to offer the functionality. If not, Google recommends that
these optional GMS apps be distributed to end users via Play Auto Installs, except where cellular data is scarce
such as emerging markets. If you'd like to preload a Google app that is not listed in the chart, please contact
your Technical Account Manager.

Play Auto Installs

Play Auto Installs (PAI) enables partners to automatically install applications published in the Play Store onto
end-user devices during the first-run, out-of-box experience, after a factory reset, or on Google Account
addition. PAl enables users to uninstall applications and recover storage space if they choose. PAI is the
recommended way for OEMs to distribute Optional GMS Apps, OEM, Carrier and third-party apps.

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Launch approval windows

To ensure GMS functions consistently and properly for users in the future, as of February 2014 Google
approves GMS distribution only on new Android products shipping on newer platform releases.

Specifically, Google will no longer approve GMS distribution for new products (as defined by the

build. PRODUCT property) on an old API level after the GMS approval window has closed for that API level.
Google will still approve new maintenance release (MR) builds of an existing product that has been already
approved in partner.android.com. This allows partners to provide updated security patches and critical bug

fixes to Android users on previously shipped devices.

GMS approval windows for by release:

 

 

 

 

 

 

 

 

 

 

 

 

 

API version AOSP Release date Approval Window
4.1 and earlier 1-Feb-2014

4.2 (API Level 17) 13-Nov-2012 | 24-Apr-2014

4.3 (API Level 18) 24-Jul-2013 31-Jul-2014

4.4 (API Level 19) 31-Oct-2013 30-Jun-2015

5.0 (API level 21) 03-Nov-2014 30-Oct-2015

5.1 (API level 22) 09-Mar-2015 30-Jun-2016

6.0 (API level 23) 05-Oct-2015 31-Jan-2017

7.0 (API level 24) 22-Aug-2016 | 31-Mar-2018

7.1 (API level 25) 04-Oct-2016 31-Mar-2018

8.0 (API level 26) 21-Aug-2017 To be announced in 2019 Q1

 

To assist partners in meeting approval window deadline, we provide early access to upcoming platform
software via the Platform Development Kit (PDK) and other software distributions, as well additional resources
(guideline documents, cdd summary etc.) through partner.android.com/eap.

Boot-up Branding

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The purpose of the "Powered by Android" bootup animation sequence (and brand mark) is to establish the
quality of devices operating Android OS that are certified and sold globally to consumers. It SHALL be
displayed during the bootup sequence according to the guidelines published on the Android Partner Toolkit
site.

Device Setup Experience

Google SetupWizard provides a reference implementation for the best setup experience on Android devices. It
is recommended to use the Google Setup Wizard as-is. However, partners MAY modify or customize the setup
experience as long as it meets the requirements below. More details about the Setup Wizard flow requirements
and the available customizations are published on the GMS Help Center.

* Itis STRONGLY RECOMMENDED to allow users to set up Wi-Fi connection before setting up any other device
capabilities that require network connection.

* Google account setup MUST be the first account setup to be presented to users after network connection.

* Account setup (Google and others) presented to users during the device setup MUST offer a user option to
skip the setup.

* Users MUST NOT be able to leave SetupWizard by any means without being offered the ability to set up
Factory Reset Protection, and before being authenticated as part of Factory Reset Protection.

* Users MUST have the opportunity to see Google Terms & Conditions and Privacy consents on the Google
Services screen before leaving the Setup Wizard.

* All handheld devices MUST support Device Owner provisioning.

* Devices that report android. hardware .nfc must enable NFC bump based provisioning (AOSP
contains a reference implementation)

* Android 7.0 or later devices with a camera MUST support QR Code Device Owner provisioning.

* Android 7.0 or later devices MUST use the Wizard Manager to customize setup experience. Creating a fully
customized Setup Wizard using the AccountManager .addAccount( ) APlis no longer supported. GTS
tests will be testing the flow of Setup Wizard in the future.

Home Screen Appearance

Default Home Screen Layout

Default Home Screen is the default display of a device, prior to any changes made by end users, that appears
without scrolling in both portrait and landscape modes when the device is in active idle mode. This screen
MUST be same as the one displayed by pressing the physical home button or tapping the home button on the
navigation bar.

The default home screen MUST feature the following:

1. Google Search Widget

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2. Google Collection folds conta ABR OS MS APRESOPS Filed 03/13/23 Page 8 of 27
3. Play Store app icon

a

 

Widget
Google Collections
Folder ei
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An example layout for the default home screen

Placement of the Google Search Widget

In order to provide a consistent user experience, the approved implementation of the Google Search Widget is
the widget provided via Google Search app included in the Core GMS.

NOTE: The default launcher preloaded in a device MUST NOT customize the Google Search Widget. For example,
the Launcher2 implementation in the AOSP provides a hardcoded Search Widget, but it doesn't comply with this
GMS requirement. Partners are recommended to preload the latest Launcher3 implementation in the AOSP.

Placement of the Google Collections Folder
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* be labeled "Google"

* have the Core GMS app icons in the following order left to right, top to bottom. (subject to geo-availability.)

Google Search

Chrome

Gmail

Maps

YouTube

Drive

Play Music

Play Movies

Duo (or Hangouts if non-telephony device)
Photos

GoD ON DHF WON

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* NOT include any non-Google apps

Googie Chrome Gmaii

YouTube Drive Play Music Play Movie.

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ei
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Photos

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Appearance of Google Collections Folder

Placement of apps in hotseat or default home screen

Any GMS app MAY alternatively be placed in the hotseat or default home screen. Core GMS app icons MAY be
removed from the Google collections folder if they are placed in the hotseat or default home screen.

Placement of the Optional GMS apps

Optional GMS app icons SHOULD adhere to one of the following placements:

* anicon onthe default home screen; or
* the hotseat; or
* within the Google folder, at the end of the collection (i.e., after the Photos app); or

* within pre-approved Play/Create folders

Play/Create folders
The following additional folders are pre-approved for use on the default home screen:

* Play Contains Play Music, Play Movies, Play Games, Play Books, and Play Newsstand.
* Create Contains Docs, Sheets, Slides, Drive, and Keep (optional).

Other apps MAY NOT be placed in these folders.

If the Play and/or Create folders are configured, the corresponding app icons MUST be removed from the
Google Collections folder (i.e., Play Music, Play Movies, and Drive).

Any alternate folder collection, if it contains any GMS app, MUST be approved by Google.

 

 

 

 

 

 
  
   

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Piay Books Play News.

  
     

Slides

 

  
 

Play

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Appearance of Play/Create folders

Placement on Apps Menu
Placement of GMS apps on the Apps Menu is subject to the following requirements:

* All GMS apps MUST be placed in the Apps Menu.

* If an OEM chooses to implement folders within the Apps Menu, the Core GMS app icons SHOULD be placed
within the Google folder. Other pre-approved folders are Play and Create, as stated in the above section.

* Play Store SHOULD be in the top level of the Apps menu and MAY NOT reside within any folder on the Apps
Menu.

* Other GMS app icons (e.g., Google Settings on Android 5.1 or earlier releases) MAY be placed within the
Google folder or at the top level of the Apps Menu.

Security Requirements

Security Patch

Every Android 6.0 or higher software build, including new and Maintenance Release (MR) builds, MUST have all
security patches applied that were issued publicly more than 60 days ago from the date it is submitted to
request Google's approval. This means that all security patches in a monthly partner security bulletin have to
be applied within 90 days from its issue.

Google Play Protect

On GMS devices, Google Play store app MUST be functioning as the package verifier, which allows the Google
Play Protect feature to protect the users from harmful apps.

Preloading Apps with INSTALL_PACKAGES Permission

All third-party apps or OEM apps that have TNSTALI. PACKAGES permission are subject to review by Google, if
they need to be preloaded on the system image.

Settings Requirements

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From Android 6.0 onwards, the AOSP Settings app allows other system apps to add extra top-level menu items

to the settings UI, and the Google Play services app uses the feature to implement the Google Settings menu.
When starting up, the Settings app collects extra menu items by searching for all system activities that resolve
the intent com. android.settings.action.EXTRA_SETTINGS and

com. android.settings.action.IA SETTINGS. Devices that preload GMS MUST leave this mechanism
unchanged, so that it can present the top-level Google settings menu to the user.

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Accounts

CS Google

Google Legal Settings

The AOSP Settings app is designed to present a ‘Google legal’ item under the ‘Legal information’ settings if a
device preloads GMS. Tapping the Google legal menu item brings up a pop-up activity which shows the Google
legal terms page. This mechanism is implemented by querying an activity which resolves
android.settings.TERMS intent. Currently, the GoogleServicesFramework app in GMS implements this
activity. GMS device implementations MUST preserve this mechanism, so that 'Google legal’ items can be
made available to the user.

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Open source licenses
Google legal
System WebView licenses

Wallpapers

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+ 7. $4452 Wb Se

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Google legal in Settings menu and its pop-up activity

Location Settings

GMS devices are required to use the location provider implemented by Google Play services. As the Location
settings menu in the AOSP Settings app heavily depends on the items injected with

android. location.SettingInjectorService API, GMS device implementations MUST preserve this
mechanism and the location settings item layouts in the Settings app.

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== Google Play services

Prey
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Cea Services

& Google Location History

Security Settings

Unknown sources

On the devices running Android 7.x or earlier versions, the Unknown sources setting MUST be disabled by
default. This is a security requirement to protect users.

 

Unknown sources
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Android 8.0 and later replace the alobal Unknown sources settina with a new /nsta// unknown avons vermission
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that allows individaat dpp6-wRswhidistdd fo orovedinalapps fdriladtabAtiia3D Paceichblenzentations MUST
NOT implicitly whitelist any preloaded or downloaded third party app.

NOTE: This change is not applicable to the privileged apps having INSTALI, PACKAGES permission.

Security Patch Level Settings

Android 5.0 and later devices MUST expose the Android security patch level in the Settings UI. It MUST be
displayed below the Android version item in the "About ..." section. The displayed text MUST match the value of
system property ro. build.version.security patch, which MUST be in the format 'YYYY-MM-DD'
according to the CDD section 3.2.2. Build Parameters.

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Send feedback about this device

Model nurvber

Android version

& 4

Android security patch level

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Security status injection into Settings

The Settings app for the device implementations running Android 8.0 and later MUST display three status
items injected by the Google Play services app as shown on the screenshot below. The items MUST be
grouped together under Security status header, MUST be visible without scrolling, and MUST be made available
within single depth from the top level Settings menu. For more information, refer to "Settings: Security Status"
document in the GMS Help Center.

Security status

Googie Play Protect
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ees SC edatio24 AM

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Security update
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Partners MAY modify Developer Options implementation as long as it complies with the CDD and meets the
following requirements:

* USB debugging MUST be off by default.

* Android 7.0 or later devices MUST provide a menu in the Settings app which allows users to switch between
available WebView providers on the device. Its user experience MUST align with the AOSP implementation.

Platform Feature Requirements

Assist Action

Android 5.1 or earlier device implementations that support the Assist action MUST make this accessible with a
single action when other navigation keys are visible, and are REQUIRED to use the long-press on the Home
button or software key as the single action. The default handler of the Assist action MUST be the Google app
when the device has completed the out-of-the-box setup process and the user triggers the single action. On
Android 6.0 and later devices, the single action MUST launch an app that implements VoicelnteractionService
as implemented by AOSP, and the default app for the VoiceInteractionService MUST be the Google app
when the device has completed the out-of-the-box setup process.

Factory Reset Protection

All new GMS devices shipping Android 5.1 or later from the factory MUST have support for FRP. This feature
deters theft and in some locations may be required by law. The Android platform and GMS provide a reference
FRP implementation, which securely locks a device even if it undergoes a factory reset through the recovery
mode. For the detailed requirements and integration instructions, refer to the 'Factory Reset Protection" doc in
the GMS Help Center.

Partners are RECOMMENDED to implement a recovery (RMA) process that allows clearing the factory reset
token, thereby enabling factory reset without user authentication. For this reason, this process must be secure
and only accessible by authorized customer support personnel.

Near-Ultrasound capability

Google Play services v7.8 or newer includes a new Nearby AP! to let app developers connect with the world
around the device. The API underneath uses multiple technologies including Wi-Fi and Bluetooth but also
inaudible audio in the near-ultrasound frequency range.

To support this feature, we require new Android 6.0+ devices launching with Google Play services to support
the near-ultrasound frequency range capability for both the microphone and speakers as defined in the CDD.
This requires setting the AudioManager properties PROPERTY_SUPPORT_MIC_NEAR_ULTRASOUND and
PROPERTY SUPPORT SPEAKER NEAR ULTRASOUND to true and passing the associated CTS Verifier tests
that enforce proper frequency response.

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Android 6.0 introduces enhanced power management feature, which is also known as "App Standby’ and

"Doze" mode. The GMS bundle for Android 6.0 or later includes all necessary framework overlays and
configuration files to enable this feature. For more information, refer to "Doze and App Standby" document in
the GMS Help Center.

All Android 6.0 or later devices with a Significant Motion Detection Sensor MUST enable Doze mode, and MUST
NOT deviate from AOSP implementation. If a partner app MUST be exempted from falling into battery saving
mode, it can be added to a configuration file, etc/sysconfig/google.xml. Google Play services MUST be
always exempted from Doze mode because it handles Firebase Google Cloud Messaging service in the
background.

Doze Extended for Android 7.0

Android 7.0 introduces the extended Doze mode which inherits all features of Android 6.0 and improves the
battery saving performance by limiting further what an app can do in the background. All Android 7.0 or later
handheld devices MUST support Doze Extended feature.

Backup and Restore

Android platform can back up user data such as settings, installed apps, and app data to the user's Google
account if it is integrated with GMS. It allows users to promptly setup a new device by restoring from backup
data. The GMS bundle includes all binaries, framework overlays, and config files for partners to implement
such backup and restore experiences. This feature MUST be supported by all GMS devices according to the
requirements below.

Backup Agent Compatibility

Backup Agents defined in AOSP SHOULD NOT be modified in ways that prevent interoperation with other GMS
compliant device implementations. For example, the package name of the AOSP package having its backup
agent MUST NOT be changed. In particular, GTS tests will ensure correct backup and restore of the following
packages:

* android

* com.android.calllogbackup

* com.android.wallpaperbackup

*" com.android.providers.settings

* com.android.providers.telephony

* com.android. providers. blockednumber

* com.android.providers.userdictionary

Partners MAY modify AOSP backup agents to include additional device specific data, subject to the following
restrictions:

* Version numbers associated with backups MUST NOT be modified (e.g., the app version code of the AOSP
package, and STATE VERSION value in the backup agent of SettingsProvider)

* If additional keys are added, they MUST be prefixed with a vendor specific string (e.g.,

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* Where a value represents a limited number of choices (i.e., an enumeration), partners MUST NOT add

additional values.

Backup Transport Configuration

GMS bundle provides the system configuration XML files and framework overlay files to allow Android platform
to support GMS features correctly. GMS devices MUST NOT modify the following backup configurations in the
GMS bundle:

* Whitelisting Google Play services as the backup data transport

* Setting Google Play services as the default backup transport

Setup Experience

Setup Wizards on GMS devices are STRONGLY RECOMMENDED to use the reference device restore flow
implemented in the GMS SetupWizard. However, among the available restore options, 'A backup from the cloud’
flow in the following screenshot MUST be implemented by every GMS device.

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Bring your data from...

A backup from an Android phone

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" Use your Og phone to copy data wirelessly

A backup from the cloud
G Pp

Sign in with your username & password
0 An iPhone® device

If the user successfully signed in with a Google account during Setup Wizard, the Google services screen, with
‘back up device data’ consent option, MUST be presented before user exiting the Setup Wizard. The backup
service to the user's Google account MUST be provisioned if and only if the user consented to the backup
option in the Google services screen.

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Google services

You can turn these services on or off at any time
for gglkrtestuser001 @gmail.com. Data will be
used according to Google's Privacy Policy.

if you want to learn more, you can tap each service.

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€> Automatically back up device data (such
as Wi-Fi passwords and call history) and @
app data (such as settings and files stored
by apps) to Googie Drive.

Backup Settings

* After exiting from the Setup Wizard, users MUST be able to provision or turn off the Google backup service
from the Settings menu.

* From Android 8.0 onwards, the AOSP Settings app implements the backup settings by calling the activity
provided by the backup transport service. On GMS devices, Google backup settings MUST be accessible
through this mechanism.

* With the AOSP Settings app for Android 8.0, a partner MAY add its own backup settings, if necessary, by
putting an intent URI string to the config backup settings intent resource which is defined in
packages/apps/Settings/res/values/config.xml . Partners are STRONGLY RECOMMENDED to
use this mechanism for backup settings customization.

Runtime Permission

Android 6.0 introduces new runtime permissions model which is designed to make permissions more
understandable, useful, and secure for users. Every Android 6.0 or later device that ships GMS MUST meet the
following requirements:

* All preloaded applications that use a dangerous permission MUST be compiled against the Android 6.0 or
later SDK regardless of whether the device is upgraded from Android 5.x or has a fresh install of Android 6.0.

* Android 6.0 GMS includes GooglePackagelnstaller app, which is a Google-signed, prebuilt version of AOSP
Packagelnstaller. Every GMS device has to preload GooglePackagelnstaller in place of AOSP
Packagelnstaller. Note that it has to be preloaded as a privileged app, since AOSP Packagelnstaller becomes
a privileged app in Android 6.0.

* If a device is updated from a previous version of Android to 6.0, then the Packagelnstaller.apk in the pre-6.0
system image must be replaced by GooglePackagelnstaller.apk during OTA update process.

For more information, refer to "Runtime Permissions" doc in the GMS Help Center.

Android Extension

Android 7.0 introduces the "Android Extension" mechanism to deliver additional features to end-user devices
without having to update the platform completely. It's implemented as two new Android apps: ExtServices and
ExtShared in the AOSP. GMS devices MUST preload the Google-signed prebuilt APK files of these apps. For the
detailed requirements, refer to the "Android Extension Shared Library" doc in the GMS Help Center.

Combined Chrome/WebView

Android 7.0 GMS introduces a new Chrome APK for the AP! Level 24 that can function as both Chrome and
WebView. Android handheld devices that launch with Android 7.0 no longer have to preload the full GMS

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WebView APK ortthe system imaaeoHtowevendberfudhWabivinw ARKCMUISIoMeSprelagdearbibt 27

* the underlying device is upgrading from previous Android release, or

* the type of device or the Geo-Availability doesn't allow the Chrome browser to be preloaded.

For the detailed requirements, refer to the "Integrating WebView and Chrome" doc in the GMS Help Center. Note
that partners MUST define an additional system property ro.product.first_api_level to indicate the
first API level according to the guideline. that the device has been commercially launched with, as guided in the
document.

Data Saver

Android 7.0 introduces the Data Saver feature which allows users to control which apps can access data in the
background and which can access data only while in the foreground. This ensures desired background data
exchange when Data Saver is on per user control. This feature MUST be supported by all Android 7.0 handheld
devices. However, Google Play services MUST be whitelisted from the Data Saver mode to make sure its
important features (Such as GCM) work in the background. Android 7.0 GMS bundle provides all necessary
files to build devices that comply with this requirement. For the detailed requirements, refer to the
"Implementing Data Saver in Android N" doc in the GMS Help Center.

Contacts Metadata Backup

Android users customize their contacts on their device by choosing favorites or setting certain numbers or
emails as primary emails for contacts, but such data is lost when users switch devices. Further, any
information about how often a contact is called or texted is also lost, so the user's "Frequently Contacted"
information is also lost.

Android 7.0 allows users to backup such contacts metadata in addition to contacts data so that they can get
the same exact contacts experience as they did on their old Android device, including usage stats, favorites,
speed dial, custom merges, default photos, primary number + email settings, and more, when users get a new
Android device.

Android 7.0 GMS includes necessary framework overlay files to set Google Play services as the syne adapter
for the information.

(products/gms_ overlay/packages/providers/ContactsProvider/res/values/config.xml1l)
This feature MUST be supported by all Android 7.0 handheld devices.

Keymaster2 and Key Attestation

Keymaster2 HAL extends the capabilities of hardware-backed key storage on Android devices. One of the
features is key attestation, which allows Android apps and off-device entities to determine if the keys are
hardware backed. Android 7.0 devices that ships with GMS and supports Keymaster2 are RECOMMENDED to
provision Google-provided attestation keys from the factory. The keyboxes will be distributed through the
Android Partner Front End (APFE). For the detailed requirements, refer to the 'Keymaster2—Attestation Key
Provisioning" doc in the GMS Help Center.

Device implementations launching with Android 8.0 MUST implement a hardware-backed keystore and

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If the device implements Device ID attestation, the hardware identifiers used to perform Device ID attestation
must be provisioned in the factory such that they are only accessible within the hardware keystore and there
must be a way for users to erase these identifiers (command line tool or similar)

Print Service Discovery

Android 7.0 introduces the PrintRecommendationService as one of the base framework components
(frameworks /base/packages/PrintRecommendationService). This service makes it easier for users
to discover a printer on the local network, and install necessary print service plugin app. Its current
implementation supports a limited number of printers, but we expect printer vendors to contribute their codes
through AOSP. Android 7.0 GMS includes the Google signed prebuilt APK of PrintRecommendationService,
which allows us to update it easily through the Play Store, and it MUST be preloaded on the system image in
place of the AOSP version.

Safe Mode

From Android 7.0 onwards, Handheld and TV devices except Wear must support booting into the Safe Mode.
For example, Nexus device users can reboot into the Safe Mode by tapping and holding the power button for 5
seconds.

Reboot to safe mode

Do you want to reboot into safe
mode? This will disable all third

party applications you have
installed. They will be restored when
you reboot again.

 

Location / SUPL
Google SUPL Server 2.0 supports the following features

* MSB Set Initiated connections only

* SSL and non-SSL connections.

* Positioning protocols supported - RRLP LPP in progress
* Assistance Data

* Ephemeris - GPS, GLONASS

* Almanac - GPS

* Reference Time, Reference Location

* Reference Location Uncertainity is added for LPP

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Google SUPL Server doesn't support multiple assistance messages at this point.

If Devices uses Google SUPL server, the following connection details SHOULD be used

 

 

 

 

 

 

 

 

 

Environment Host SSL Non SSL

Production supl.google.com 7275 7276

QA supl-dev.google.com 7279 7280
Daydream

VRCore is a new optional GMS app for the Google VR Services, which is supported by Android 7.0 or later
devices.

For GMS devices without android. hardware.vr.high_ performance feature flag:
* The device MAY preload VRCore app according to the geo-availability.
For GMS devices that declare android. hardware.vr.high performance feature flag:

* The partner MUST sign VR MADA addendum. Please contact your TAM/BD for this.

* The device MUST preload VRCore app according to the geo-availability and successfully complete
Daydream-ready certification.

Android Go
New Devices launching with 1GB RAM or lower MUST seek additional approvals from Google.
For New GMS devices that launch with Android 8.0 (O Release) or newer Android releases:

* MUST sign MADA addendum for Android Go, please contact your TAM/BD for this

* MUST complete Android Go certification Note : This does not apply to devices already launched with
Android 7.x (Nougat) but upgrading to Android 8.0 (0 Release) or newer

For GMS devices that launch with Android 7.x (Nougat)

* No additional approvals are needed

Secure Texture Video Playback

* Secure Texture Video Playback is mandatory for VR High Performance devices.
* Secure Texture Video Playback is optional for Widevine DRM L1 devices.
* If a device supports Secure Texture Video Playback, it MUST pass GTS end to end test.

Widevine DRM
ft—SY

   

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Widevine DRM is implemented with the OEMCrypto API library which provided by th @ SoC or OEM partners. All

Android devices that ships with GMS MUST support a certain version of the OEMCrypto API according to the
Android platform releases:

* Android 6.0: OEMCrypto API Version 10
* Android 7.0: OEMCrypto API Version 11
* Android 8.0: OEMCrypto API Version 11 or 13 (see note below)

NOTE: All devices running Android 8.0 or later MUST support OEMCrypto v11 APIs but MUST NOT implement
widevine classic. All device builds approved after January 1st, 2018 launching or upgrading to Android 8.0 and
newer MUST support OEMCrypto v13.

Flash Lock Status Reporting

All Android 7.0 or later devices MUST implement
PersistentDataBlockManager#getFlashLockState() system API that returns the bootloader state
whether it permits flashing of the system image. Its return value MUST be one of the following:

* FLASH LOCKED : The bootloader does not allow to flash system image at all, or it's in the state that flashing
of system image is not possible.
* FLASH UNLOCKED : The bootloader is in the state that allows to flash system image.

* FLASH _LOCK_UNKNOWN: This return value is only allowed for a device upgrading to Android 7.0 as a system
update (OTA), but its bootloader cannot be updated to report the correct state, in either FLASH LOCKED or
FLASH UNLOCKED . A device preloading Android 7.0 from the factory MUST NOT return this value.

All Android 7.0 devices, if their system images are preloaded from the factory, MUST be in FLASH_ LOCKED
state when they are turned on for the first time out of the box.

Instant Apps

Device implementations running Android 8.0 and newer MUST configure the Google Play services app as the
EphemeralResolverService , by overriding the value of framework configuration resource

config ephemeralResolverPackage that is defined in
frameworks/base/core/res/res/values/config.xml.

Event Logging in System UI and Launcher

System UI and the preloaded default launcher(s) MUST implement the same event logging mechanism as
provided in the AOSP. For more information, refer to "Implementing Launcher Workspace Logger” doc in the
GMS Help Center.

Android Enterprise

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In order to provide user experience compatibility and minimize support cost for enterprise customers, the
design of badge for the managed applications and widgets, and other badged UI elements MUST be reviewed
and approved by Google, unless the device implementation uses the exact same asset in the AOSP.

      

Play Store Hangouts Chrome Drive

Autofill Provider

Device implementations running Android 8.0 and newer are RECOMMENDED to support and declare the
android.software.autofill feature. The Google Play services app in GMS provides an implementation
of the Autofill provider, letting users use their personalized auto-fill data on Chrome.

Treble

New devices launching with Android 8.0 or newer MUST be compliant to the Treble architecture to guarantee
an easier upgrade to the next Android version. This section enumerates the requirements and
recommendations to qualify as compliant to the Treble architecture.

Vendor interface

The Vendor Interface refers to the interface between the Android framework and the hardware-specific parts of
the Android platform. All interactions between the framework and vendor code MUST be carried out over the
vendor interface.

HAL interface

All devices MUST implement the core Hardware Abstraction Layer (HAL) interfaces defined by the HAL
Interface Definition Language (HIDL) in AOSP that are required for the proper functioning of the device. The
core interfaces defined in AOSP MUST NOT be modified.

Same Process HALs (SP-HALs) open and run in the process in which they are used. The following rules apply
to SP-HAL interfaces:

* The SP-HAL list is defined by by Google and MUST NOT be modified i.e. No new SP-HALs MUST be added
(see Appendix A)

* SP-HAL interfaces MUST NOT be extended.
All other HALs MUST be binderized.

When permitted, extensions to the core HAL interfaces MUST be defined using HIDL and the implementation
MUST be binderized. HAL extensions MUST evolve in a manner that maintains backward compatibility.

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binderized implementation even on upgrading devices.

List of SP-HALs:

* openGL

* Vulkan

* android.hidl.memory@1.0 - (implementation provided by Google)
* android.hardware.graphics.mapper@1.0

* android.hardware.renderscripté1.0

The following HALs are defined with HIDL and are implemented as binderized HALs irrespective of whether the
device is launching with Android 8.0 or upgrading to Android 8.0:

* android. hardware.biometrics.fingerprint@2.1
* android. hardware.configstore@1.0

* android.hardware.dumpstate(1.0

* android.hardware.graphics.allocator@2.0

* android.hardware.radio@1.0

* android.hardware.usb@1.0

* android. hardware.wifiél1.0

* android.hardware.wifi.supplicantél1 .0

Refer VNDK and build-split requirements, for more information on the separation between framework and
vendor code.

Refer device-partition requirements, for more information on the mandatory partitions for device-tree overlays.

Kernel interface

All devices launching with Android 8.0 MUST implement the Linux kernel interfaces required by the Android
framework. All common kernel interfaces defined in the Kernel Interface Requirements document MUST be
implemented.

Refer kernel and bootloader requirements, for more information on kernel requirements that are not related to
the kernel-interface requirements.

Kernel and Bootloader

Minimum kernel version

Devices launching with Android 8.0 MUST run on kernel version 3.18 or newer. New SoCs launching in the
second half of 2017 MUST run on kernel version 4.4 or newer (this helps downstream OEMs ship devices with
the required minimum Kernel version in the future).

Guidance on how the minimum Linux Kernel version requirements will evolve beyond Android 8.0 is provided in
the following tables.

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Android Release MUST STRONGLY RECOMMENDED
O 3.18 44
p 4.4 49

 

 

 

 

 

For new SoC launches in the second half of 2017 and throughout 2018:

 

 

 

Android Release MUST STRONGLY RECOMMENDED
2H 2017 4.4 4.9
2018 4.9 TBD (next common/android kernel release)

 

 

 

 

 

Peripheral-device drivers

Device drivers SHOULD be implemented as loadable kernel modules. The description of such hardware MUST
be done using the standardized device-tree notation for CPU architectures that use device trees, or an
equivalent to device tree MUST be used for those architectures that do not support device tree (e.g., ACPI).

Loadable kernel modules and device tree blobs SHOULD NOT be placed on the system partition. The
bootloader SHOULD combine the device tree and the device-tree overlays and present a unified device-tree
blob (or an equivalent) to the kernel when booting the kernel.

Refer to device-partition requirements, for more information on the mandatory partitions for device tree
overlays.

VNDK and build-split
The Vendor NDK (VNDk) classifies shared libraries used by both the framework and the vendor code.

VNDkK library classification and ABI

All libraries classified as vndk-sp by the VNDK definition tool MUST be placed in the system partition, under
/system/1Lib/vndk-sp (and /system/1ib64 /vndk-sp for 64-bit devices).

All libraries classified as extended by the VNDK definition tool MUST be copied to the vendor partition.

Build-split

Libraries, configuration files, and executable code used in the implementation of the core HAL or vendor-
extended HAL interfaces MUST NOT be placed in the system partition.

Devices MUST NOT create build-time couplings between the system image and other images.

All devices MUST define the property ro. vendor. build.fingerprint and include it on the vendor image.

This fingerprint SHOULD be updated to reflect updates to the vendor partition.
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Reference AOSP image requirements

All devices MUST pass the Vendor Test Suite (VTS) and Compatibility Test Suite (CTS) on a reference AOSP
system image (userdebug variant) provided by Google.

Compliance test requirements for devices launching or upgrading with Android 8.0:

 

 

 

 

 

 

 

0 Compatibility Requirements Classification

Build Type Test Type Device Device
launching with | upgrading to
0 0

OEM system image + OEM vendor image + CTS Required Required

others

OEM system image + OEM vendor image + CTS Verifier Required Required

others

OEM system image + OEM vendor image + GTS Required Required

others

Reference AOSP system image + OEM vendor VTS Required Optional

image + others

Reference AOSP system image + OEM vendor CTS(ReferencePlan) | Required Optional

image + others

 

 

 

 

 

 

Device partition requirements
The typical layout of non-volatile memory on Android devices is outlined here. The requirements for storage
partitions and the contents that must go into each of these partitions are formalized below.

All devices launching with Android 8.0 MUST have the following partitions on the non volatile storage for the
device:

* system - for the framework-specific portions of the code

* vendor - for the chipset-specific portions of the code

* boot - for the Linux-kernel image

All devices launching with Android 8.0 SHOULD have the following partitions on the non volatile storage for the
device:

* odm - for odm-specific driver modules and applications

All the content that goes into the odm or oem partition MAY be placed on the vendor partition on devices that
do not have these provisioned.

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When device-tree averiavs are used, the following partitions are rbyuited: g

* dtb SHOULD be provisioned for the chipset-peripheral descriptors. It is STRONGLY RECOMMENDED that
devices place all chipset-peripheral descriptors on the dtb partition.

* dtbo SHOULD be provisioned for the off-chip peripheral descriptors. It is STRONGLY RECOMMENDED that
device-tree overlays be placed in dtbo partition. The partition MUST be available for the bootloader.

For CPU architectures that do not use device trees, it is STRONGLY RECOMMENDED to have a partition for on-
chip and off-chip device descriptions.

When devices are required to support verified boot, the following partitions SHOULD be present:

* vbmeta - for the meta data related to the verified partitions as required by the reference Android Verified
Boot implementation.

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